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 5

 6 Attorneys for Plaintiff
   United States of America
 7

 8                                IN THE UNITED STATES DISTRICT COURT

 9                                   EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                               CASE NO. 2:17-CR-064 JAM
12                                    Plaintiff,
                                                             STIPULATION AND [PROPOSED]
13   v.                                                      PROTECTIVE ORDER BETWEEN
                                                             THE PARTIES REGARDING
14   RUTH A. KELLNER, and                                    DISCOVERY
     RODNEY G. SHARP,
15
                                      Defendants.
16

17
                                                    STIPULATION
18
              Plaintiff United States of America, by and through its counsel of record, and defendants
19
     RUTH A. KELLNER and RODNEY G. SHARP, by and through their counsels of record, hereby
20
     stipulate as follows:
21
              1.      This Court may enter protective orders pursuant to Rule 16(d) of the Federal Rules of
22
     Criminal Procedure, and its general supervisory authority.
23
              2.      This Stipulation and Order pertains to the Mobile Video Audio Recording System
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     discovery provided to or made available to Defense Counsel as part of discovery in this case
25
     (hereafter, collectively known as “the discovery”).
26
              3.      Defense counsel shall not disclose any of the discovery to any person other than his
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     respective defendant/client; witnesses that he is interviewing or preparing for trial; or attorneys, law
28
                                                         1
          Stipulation and [Proposed] Protective Order
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 1 clerks, paralegals, secretaries, experts, and investigators involved in the representation of the

 2 defendant in connection to this criminal case.

 3          4.      The discovery and information therein may only be used in connection with the

 4 litigation of this case and for no other purpose. The discovery is now and will forever remain the

 5 property of the United States Government. Defense counsel will return the discovery or certify that

 6 it has been shredded at the conclusion of the case and defense counsel’s document retention

 7 obligations.

 8          5.      In the event that the defendant obtains substitute counsel, undersigned defense

 9 counsel agrees to return all discovery provided under this order to government counsel, in order that

10 the government may arrange for substituted counsel to sign the order and the reissuance of the

11 discovery to new counsel.

12          6.      Defense counsel will store the discovery in a secure place and will use reasonable

13 care to ensure that it is not disclosed to third persons in violation of this agreement.

14          7.       If defense counsel makes, or causes to be made, any further copies of any of the

15 discovery, defense counsel will inscribe the following notation on each copy or incorporate onto

16 electronic files (efiles): “U.S. Government Property; May Not Be Disseminated Without U.S.

17 Government Permission.”

18          8.      If defense counsel releases custody of any of the discovery, or authorized copies

19 thereof, to any person described in paragraph three, defense counsel shall provide such recipients

20 with copies of this Order and advise that person that the discovery is the property of the United

21 States Government, that the discovery and information therein may only be used in connection with

22 the litigation of this case and for no other purpose, and that an unauthorized use of the discovery

23 may constitute a violation of law and/or contempt of court.

24          9.      Defense counsel shall advise government counsel of any subpoenas, document

25 requests or claims for access to the discovery by third parties in order that the government may take

26 action to resist or comply with such demands as it may deem appropriate.

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 1         10.     Defense counsel shall be responsible for advising his respective defendant, employees

 2 and other members of the defense team, and defense witnesses of the contents of this

 3 Stipulation/Order.

 4 IT IS SO STIPULATED.

 5
     DATED: February 14, 2018
 6
                                           /s/ Amanda Beck________________
 7                                         AMANDA BECK
                                           Assistant United States Attorney
 8

 9 DATED: February 14, 2018

10                                         /s/ CHRISTOPHER COSCA________
                                           CHRISTOPHER COSCA
11                                         Counsel for Defendant KELLNER
12

13 DATED: February 14, 2018

14                                         /s/ HANNAH LABAREE___________
                                           HANNAH LABAREE
15                                         Counsel for Defendant SHARP
16

17

18                                                   ORDER
19
           IT IS SO FOUND AND ORDERED this 7th day of March, 2018.
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       Stipulation and [Proposed] Protective Order
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